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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



                                                                     ORDER
 Allstate Indemnity Company,                               7:22-cv-01489-PED
                                  Plaintiff,


                 - against -




 Nuncio A. Diaz, et al.,
                                      Defendant(s),




PAUL E. DAVISON, U.S.M.J.

       The Court having been advised that all claims asserted in the above entitled action

are settled, it is hereby

       ORDERED, that the above entitled action be and hereby is discontinued, without

costs to any party, subject to reopening should the settlement not be concluded within

Sixty (60) days of the date hereof.

Dated: July 25, 2022                                    SO ORDERED:
White Plains, New York

                                                        Paul E. Davison
                                                        United States Magistrate Judge

  USDC SDNY
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